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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MAINE

THOMAS DAGGETT,

               Plaintiff,

       vs.
                                                               Civil No. 18-00303-JAW
YORK COUNTY, et al.,

               Defendants



       COUNTY DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT, WITH
                 INCORPORATED MEMORANDUM OF LAW

       Plaintiff Thomas Daggett had no contact with Defendants William King and Michael

Vitiello during his stay at the York County Jail in May of 2015. Moreover, Mr. Daggett does not

allege facts that would support deliberate indifference on the part of Sheriff King, Jail

Superintendent Vitiello, or Defendant York County. Finally, Mr. Daggett’s civil conspiracy claim

lacks an underlying tort, is time barred, and is barred by immunity. For these reasons, which are

discussed more completely below, York County, Sheriff King, and Superintendent Vitiello

(collectively “the County Defendants”) move for summary judgment on all claims in Mr.

Daggett’s Amended Complaint pursuant to Federal Rule of Civil Procedure 56 and Local Rules 7

and 56.

                                        BACKGROUND

   I. FACTS PERTINENT TO CLAIMS AGAINST COUNTY DEFENDANTS

       The claims against the County Defendants arise out of Mr. Daggett’s incarceration at the

York County jail from about 11:00 p.m. on May 17, 2015 to early afternoon the following day.

(ECF No. 48-10, at 513 (Poore Dep. at 43/14-18); ECF No. 48-27, at 708 & 712 (Male Adult

Booking form for Mr. Daggett)). The full factual background for the Motion for Summary

Judgment is set forth in the accompanying Statement of Material Facts, which is hereby

incorporated by reference.
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   II. PROCEDURAL BACKGROUND

       Mr. Daggett initiated this lawsuit by a Complaint filed on August 8, 2018. The current

operative pleading is his Amended Complaint, which was filed on September 25, 2018. Mr.

Daggett asserts the following claims against the County Defendants: violation of 42 U.S.C. §

1985 (Count I); violation of 42 U.S.C. § 1983 by William King (Count VI); violation of 42 U.S.C. §

1983 by York County (Count VII); violation of the Maine Civil Rights Act, 5 M.R.S. § 4682

(“MCRA”) (Count VIII); and civil conspiracy (Count IX). Although the Amended Complaint

refers to “John Does” who are purportedly employees of the Jail, Mr. Daggett has never

identified these alleged individuals or joined them as parties.

   III.    STANDARD OF REVIEW

       Summary judgment is designed to “to pierce the pleadings and to assess the proof in

order to see whether there is a genuine need for trial.” Garside v. Osco Drug, Inc., 895 F.2d 46,

50 (1st Cir. 1990). A party is entitled to summary judgment when “the pleadings, depositions,

answers to interrogatories, and admissions of file, together with the affidavits, if any, show there

is no genuine issues as to any material fact and the moving party is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56. The moving party must “aver[] ‘an absence of evidence to

support a nonmoving party’s case.’” Garside, 895 F.2d at 48 (quoting Celotex v. Catrett, 477

U.S. 317, 325 (1986)). The nonmovant is then required to present competent evidence to

“establish the existence of at least one fact issue which is both ‘genuine’ and ‘material.’” Id.

(citations omitted). “A ‘genuine’ issue is one ‘that properly can be resolved only by a finder of

fact because [it] may reasonably be resolved in favor of either party.’” Id. (quoting Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 250 (1986)). “A ‘material’ issue is one that ‘affects the

outcome of the suit,’ that is, an issue which, perforce, ‘needs to be resolved before the related

legal issues can be decided.’” Id. (quoting Anderson, 477 U.S. at 248, and Mack v. Great Atlantic

and Pacific Tea Co., 871 F.2d 179, 181 (1st Cir. 1989)).




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       The United States Supreme Court has held that on issues in which the nonmovant bears

the ultimate burden of proof, that party must present definite, competent evidence to rebut the

motion. Anderson, 477 U.S. at 256-57. The nonmovant’s evidence “can not be conjectural or

problematic; it must have substance in the sense that it limns differing versions of the truth

which a fact finder must resolve at an ensuing trial.” Mack, 871 F.2d at 181. “[S]ummary

judgment cannot be defeated by relying on improbable inferences, conclusory allegations, or

rank speculation." Ingram v. Brink's, Inc., 414 F.3d 222, 228-29 (1st Cir. 2005).

                                             ARGUMENT

       As noted above, Mr. Daggett has asserted claims against the County Defendants under

both federal and state law. The federal claims include: claims under Section 1983 for alleged

violations of Mr. Daggett’s federal constitutional rights by Sheriff King and the County only; and

a claim under Section 1985 for alleged conspiracy to violate Mr. Daggett’s federal constitutional

rights. The state law claims include: an alleged violation of the MCRA; and civil conspiracy.

Based on the factual record in this case, none of these claims are legally viable. In any event,

Sheriff King and Superintendent Vitiello are protected from liability for any alleged civil rights

violations by qualified immunity and all of the County Defendants are protected by immunity

with regard to the civil conspiracy claim.

  I. THE RECORD EVIDENCE DOES NOT SUPPORT CIVIL RIGHTS CLAIMS
AGAINST THE COUNTY DEFENDANTS.

       Pursuant to Section 1983, a claim for relief may be asserted only against those persons

who, “under color of law,” act to deprive another of “rights, privileges, or immunities” secured

by either the United States Constitution or federal statutes. § 1983; see Board of County

Comm’rs v. Brown, 520 U.S. 397, 402-03 (1997) (citing and quoting Section 1983). The United

States Court of Appeals for the First Circuit has elaborated on this standard:

       In assessing the imposition of liability under section 1983, we must first ask “(1)
       whether the conduct complained of was committed by a person acting under the
       color of state law; and (2) whether this conduct deprived a person of rights, privileges
       or immunities secured by the Constitution or laws of the United States.” There are



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           two aspects to this second inquiry: “(1) there must have been a deprivation of
           federally protected rights, privileges or immunities, and (2) the conduct complained
           of must have been causally connected to the deprivation.”

Gutierrez-Rodriguez v. Cartagena, 882 F.2d 553, 559 (1st Cir. 1989) (citations omitted)

(emphasis in original). The Supreme Court has emphasized that Section 1983 “is not itself a

source of substantive rights, ‘but merely provides a method for vindicating federal rights

elsewhere conferred.’” Graham v. Connor, 490 U.S. 386, 393-94 (1989) (citation omitted).

           In his Amended Complaint, Mr. Daggett invokes the First, Fourth, Fifth, Eighth, and

Fourteenth Amendments to the United States Constitution. (ECF No. 8-1, at 58 (Amended

Complaint ¶ 1)). However, in describing his claims against Sheriff King and the County,1 Mr.

Daggett does not allege that they infringed any of his rights under the First Amendment.

Moreover, Mr. Daggett acknowledged in his interrogatory answers that his Fourth Amendment

claim is directed only at “the Berwick Defendants.” (ECF No. 48-5, at 423 (Pl’s Answers to

County Defendants’ Interrogatories ¶ 10)). Finally, it is well established that “[t]he Fifth

Amendment Due Process Clause…applies ‘only to actions of the federal government – not to

those of state or local governments.’” Martinez-Rivera v. Ramos, 498 F.3d 3, 8 (1st Cir. 2007)

(quoting Lee v. City of Los Angeles, 250 F.3d 668, 687 (9th Cir. 2001)) (additional citations

omitted). Therefore, despite alleging contrarily in his Amended Complaint, Mr. Daggett has no

viable First, Fourth or Fifth Amendment claims against the County Defendants.

           Since Mr. Daggett was a pretrial detainee at the time of the events alleged in the

Amended Complaint, the Fourteenth Amendment governs his claims based on use of force and

provision of medical services. See Kingsley v. Hendrickson, 135 S. Ct. 2466, 2472-73, 192 L. Ed.

2d 416 (2015); Gaudreault v. Salem, 923 F.2d 203, 208 (1st Cir. 1990). To demonstrate a use of

force that violates the Due Process Clause, a pretrial detainee must show: one, that the force was

purposefully or knowingly used against him or her; and two, that the force was objectively



1   Mr. Daggett is not asserting a claim under Section 1983 against Superintendent Vitiello.



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unreasonable based on the particular facts and circumstances and in light of the prison’s

legitimate security interests. Id. at 2472-73 (listing potentially relevant factors). The Supreme

Court has emphasized, however, that “‘liability for negligently inflicted harm is categorically

beneath the threshold of constitutional due process.’” Id. at 2472 (citation omitted) (emphasis in

original).

        The requirements for a claim of inadequate medical care under the Fourteenth

Amendment have not been “plotted exactly; however, it is clear that they extend at least as far as

the protection that the Eighth Amendment gives to a convicted prisoner.” Gaudreault, 923 F.2d

at 208. “Government officials violate the Eighth Amendment if they display ‘deliberate

indifference’ to a prisoner’s ‘serious medical needs.’” Miranda-Rivera v. Toledo-Dávila, 813

F.3d 64, 74 (1st Cir. 2016) (quoting Gaudreault, 923 F.2d at 208). “Deliberate indifference

requires (1) that ‘the official . . . be aware of facts from which the inference could be drawn that a

substantial risk of serious harm exists,’ and (2) that he draw that inference.” Id. (quoting

Farmer v. Brennan, 511 U.S. 825, 837 (1994)). Moreover, the Supreme Court has emphasized

that “prison officials who actually knew of a substantial risk to inmate health or safety may be

found free from liability if they responded reasonably to the risk, even if the harm ultimately was

not averted.” Farmer, 511 U.S. at 844. Finally, as noted above, negligent infliction of harm does

not rise to the level of a Fourteenth Amendment violation. See Kingsley, 135 S. Ct. at 2472.

        A. The record evidence does not establish any basis for civil rights claims
           against Sheriff King.

        There is no record evidence to suggest that Sheriff King was present for or had any

involvement in any of the events alleged in the Amended Complaint. Similarly, the record does

not support any civil right claims against Sheriff King based on a theory of supervisory liability.

        Based on First Circuit precedent, a claim of “supervisory liability” has two elements. See

Pineda v. Toomey, 533 F.3d 50, 54 (1st Cir. 2008). First, a plaintiff must show that one of the

supervisor’s subordinates abridged the plaintiff’s constitutional rights. See id. Second, a plaintiff




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must show that “the [supervisor]’s action or inaction was affirmative[ly] link[ed] to that

behavior in the sense that it could be characterized as supervisory encouragement, condonation,

or acquiescence or gross negligence amounting to deliberate indifference.” Id. (alterations in

original) (quoting Lipsett v. Univ. of P.R., 864 F.2d 881, 902 (1st Cir. 1988)).

       A supervisor may not be held liable under section 1983 based solely on respondeat

superior, nor can a supervisor’s section 1983 liability rest exclusively on the supervisor’s

position of authority. See Ramírez-Lluveras v. Rivera-Merced, 759 F.3d 10, 19 (1st Cir. 2014). A

supervisor can only be held liable under Section 1983 for the supervisor’s own acts or omissions.

See Gutierrez-Rodriguez, 882 F.2d at 562; Figueroa v. Aponte-Roque, 864 F.2d 947, 953 (1st

Cir. 1989).

       A claim of supervisory liability cannot be premised upon negligent acts. Ramírez-

Lluveras, 759 F.3d at 19 (citations omitted). Rather, supervisor’s conduct must demonstrate

“reckless or callous indifference to the constitutional rights of others.” Febus-Rodríguez v.

Betancourt-Lebrón, 14 F.3d 87, 92 (1st Cir. 1994). To show deliberate indifference by a

supervisor, a plaintiff must show “(1) ‘that the officials had knowledge of facts,’ from which (2)

‘the official[s] can draw the inference’ (3) ‘that a substantial risk of serious harm exists.’”

Ramírez-Lluveras, 759 F.3d at 19 (alteration in original) (quoting Ruiz-Rosa v. Rullán, 485 F.3d

150, 157 (1st Cir. 2007)).

       Finally, the First Circuit has emphasized that “deliberate indifference alone does not

equate with supervisory liability.” Figueroa-Torres v. Toledo-Dávila, 232 F.3d 270, 279 (1st Cir.

2000) (alteration in original) (quoting Camilo-Robles v. Hoyos, 151 F.3d 1, 7 (1st Cir. 1998)). A

plaintiff must also show a “solid” causal link between a supervisor’s conduct and the

constitutional violation. See Ramírez-Lluveras, 759 F.3d at 19. The causation requirement

“contemplates proof that the supervisor’s conduct led inexorably to the constitutional violation.”

Hegarty v. Somerset County, 53 F.3d 1367, 1380 (1st Cir. 1995). “[I]solated instances of

unconstitutional activity” will not suffice to establish the necessary causal connection. Id.



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       The summary judgment record does not support any civil rights claims against Sheriff

King for several reasons. First, there is no evidence of any constitutional violation by any

member of the Jail staff. Mr. Daggett alleges that he hit his head on the wall after the officers

lowered him onto a bunk. At best, his testimony suggests that the officers did not correctly

assess whether Mr. Daggett would be able to sit upright on the bunk once they released him.

Regardless of whether the corrections officers’ alleged actions could support a claim of

negligence (a point the County Defendants do not concede), they do not constitute objectively

unreasonable conduct as a matter of law. See, e.g., Fernandez-Salicrup v. Figueroa-Sancha,

790 F.3d 312, 326-27 (1st Cir. 2015) (applying a Fourth Amendment “objectively unreasonable”

standard and holding that officer’s conduct in shoving a protester face-first against a wall and

placing her in handcuffs, while possibly unnecessary, as not unreasonable as a matter of law).

       Similarly, the record does not support a claim against any Jail officer with regard to Mr.

Daggett’s medical care. It is undisputed that a doctor at SMHC had determined Mr. Daggett was

fit for incarceration before Officer Poore brought him to the Jail. It is also undisputed that the

doctor communicated with the Jail’s medical provider – CCS – about Mr. Daggett’s medical

issues even before Mr. Daggett was admitted to the Jail. Moreover, Mr. Daggett concedes that he

had several contacts with the medical providers while at the Jail, that he was provided

medication (which, incidentally, was supplied by SMHC) while at the Jail, and that the medical

providers were aware of his complaints. There is no evidence that any member of the Jail staff

failed to notify the medical provider of complaints by Mr. Daggett, or that they were otherwise

deliberately indifferent to any of his complaints. Mr. Daggett’s ample access to medical care in

the Jail precludes any liability of Jail officers under the Fourteenth Amendment. Farmer, 511

U.S. at 844 (holding that reasonable response to known risks preclude liability). Since there is

no record evidence to suggest that any of Sheriff King’s subordinates violated Mr. Daggett’s

constitutional rights, he is entitled to summary judgment. See Pineda, 533 F.3d at 54.




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        Even if such evidence did exist on this record, there is no evidence of action or inaction

on Sheriff King’s part that was affirmatively linked to that behavior, in the sense that it could be

characterized as supervisory encouragement, condonation, or acquiescence or gross negligence

amounting to deliberate indifference. The record demonstrates that Sheriff King was unaware of

the events alleged by Mr. Daggett – therefore, Sheriff King could not have drawn the inference

that a substantial risk of serious harm existed. Moreover, the record demonstrates no causal link

– let alone a “solid” causal link – between Sheriff King’s conduct and the alleged constitutional

violations. See Ramírez-Lluveras, 759 F.3d at 19. At best, Mr. Daggett alleges isolated instances

of unconstitutional activity that were unknown to Sheriff King, which will not suffice to establish

the required causal connection. Hegarty, 53 F.3d at 1380. Sheriff King is entitled to summary

judgment with regard to Counts VI and VIII.2

        B. The Amended Complaint does not assert a federal civil rights claim
           against Mr. Vitiello and, in any event, the record would not support such
           a claim as a matter of law.

        Superintendent Vitiello cannot be held liable for any alleged federal civil rights claims

because the Amended Complaint does not allege any such claims. Fed. R. Civ. P. 12(b)(6)

(dismissal for failure to state a cognizable claim). Nor does the Amended Complaint contain any

“factual content that allows the court to draw the reasonable inference that [Superintendent

Vitiello] is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(citation omitted). As such, to the extent the Amended Complaint can be read to include such

claims, the claims should be dismissed.3



2The Maine Law Court has held that the MCRA is patterned on Section 1983. See Jenness v. Nickerson,
637 A.2d 1152, 1158 (Me. 1994). Therefore, as this Court has held on several occasions, “[t]he disposition
of the federal claim controls the plaintiff's claim under the Maine Civil Rights Act….” Forbis v. City of
Portland, 270 F. Supp. 2d 57, 61 (D. Me. 2003) (citing Jenness, 637 A.2d at 1158 and Fowles v. Stearns,
886 F. Supp. 894, 899 n.6 (D. Me. 1995)). For the same reasons that Sheriff King cannot be held liable for
the federal civil rights claims, he is entitled to summary judgment on the MCRA in Count VIII.
3 Since Mr. Daggett has not plead any federal civil rights claims against Superintendent Vitiello, it would
seem improbable that he would be included as a defendant in Mr. Daggett’s MCRA claim. However, even
if the Amended Complaint could be read in that fashion, Superintendent Vitiello is entitled to summary
judgment with regard to Count VIII for the reasons discussed below.



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        In any event, the same arguments presented above in support of summary judgment for

Sheriff King would apply to any federal civil rights claims against Superintendent Vitiello. There

is no record evidence to suggest that Superintendent Vitiello was involved in any of the events

that Mr. Daggett alleges as the basis of his claims. Moreover, Superintendent Vitiello cannot be

held liable under a supervisory liability theory. As noted above, there is no record evidence of an

underlying violation by Superintendent Vitiello’s subordinates. There is also no evidence that

Superintendent Vitiello was on notice of any of the issues alleged in the Amended Complaint;

therefore, Superintendent Vitiello could not have drawn the inference that a substantial risk of

serious harm existed. Finally, there is no evidence of a causal link between action or inaction on

the part of Superintendent Vitiello and the alleged constitutional violations. Superintendent

Vitiello is entitled to summary judgment with regard to any federal civil rights claims in the

Amended Complaint that may apply to him.

        C. Sheriff King and Superintendent Vitiello are protected by qualified
           immunity.

        Even when a plaintiff presents an arguable constitutional violation against a supervisor,

the supervisor may nonetheless be protected from liability by qualified immunity. “The doctrine

of qualified immunity protects government officials ‘from liability for civil damages insofar as

their conduct does not violate clearly established statutory or constitutional rights of which a

reasonable person would have known.’” Pearson v. Callahan, 555 U.S. 223, 231 (2009) (quoting

Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). As the First Circuit has emphasized, qualified

immunity affords officers broad protection even in circumstances in which they may have

violated a plaintiff’s constitutional rights:

            Thus, the qualified immunity inquiry does not depend on whether the
            warrantless entry was constitutional, but allows as well for the inevitable
            reality that “law enforcement officials will in some cases reasonably but
            mistakenly conclude that [their conduct] is [constitutional], and . . . that . . .
            those officials like other officials who act in ways they reasonably believe to be
            lawful should not be held personally liable.” [Anderson v. Creighton, 483
            U.S. 635, 641 (1987) (emphasis added)]; [Burns v. Loranger, 907 F.2d 233,
            237 (1st Cir. 1990)]. In other words, qualified immunity sweeps so broadly



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           that “all but the plainly incompetent or those who knowingly violate the law”
           are protected from civil rights suits for money damages.

Hegarty v. Somerset County, 53 F.3d 1367, 1373 (1st Cir. 1995) (emphasis in original) (citing

and quoting Hunter v. Bryant, 502 U.S. 224, 229 (1991) (quoting Malley v. Briggs, 475 U.S.

335, 341 (1986)).

       In applying these standards, there are two relevant inquiries: whether the facts that a

plaintiff has alleged or shown make out a violation of a constitutional right; and whether that

right was “clearly established” at the time of the defendant’s alleged misconduct. Saucier v.

Katz, 533 U.S. 194, 201 (2001). Generally, the second inquiry itself has two elements: “We ask

(a) whether the legal contours of the right in question were sufficiently clear that a reasonable

officer would have understood that what he was doing violated the right, and (b) whether in the

particular factual context of the case, a reasonable officer would have understood that his

conduct violated the right.” Mlodzinski v. Lewis, 648 F.3d 24, 32-33 (1st Cir. 2011). However,

the First Circuit has held that the qualified immunity inquiry “is refined further in supervisory

liability cases.” Penate v. Hanchett, 944 F.3d 358, 366 (1st Cir. 2019). In that context, “[t]he

‘clearly established’ inquiry … is bifurcated and is satisfied only when ‘(1) the subordinate's

actions violated a clearly established constitutional right, and it was clearly established that a

supervisor would be liable for constitutional violations perpetrated by his subordinates in that

context.’” Id. (quoting Camilo-Robles, 151 F.3d at 6). “If the constitutional right and the

availability of supervisory liability that underlie a plaintiff's § 1983 claim are both clearly

established, … we ask ‘whether, in the particular circumstances confronted by [the] appellant,

[the] appellant should reasonably have understood that his conduct jeopardized those rights,’

whether through deliberate indifference or otherwise.” Id. (quoting Camilo-Robles, 151 F.3d at

7).

       Assuming, for the purposes of argument, that Mr. Daggett could demonstrate that his

claims implicate clearly-established constitutional rights, he cannot demonstrate that a




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supervisor would be liable for constitutional violations committed by Sheriff King and

Superintendent Vitiello’s subordinates in that context. Neither Sheriff King nor Superintendent

Vitiello were aware of the alleged events, there is no record evidence to suggest that either

exhibited reckless or callous indifference to the constitutional rights of others, and there is no

evidence that their actions led inexorably to the constitutional violations alleged by Mr. Daggett.

Therefore, Mr. Daggett cannot establish the existence of a clearly-established right at a

supervisory level. In any event, there is no record evidence to suggest that either Sheriff King or

Superintendent Vitiello should reasonably have understood that his conduct jeopardized Mr.

Daggett’s constitutional rights. Therefore, they are both protected by qualified immunity.

       D. Since there is no custom or policy of York County that caused the
          constitutional harm alleged by Mr. Daggett, the County cannot be held
          liable under Section 1983.

       Governmental entity liability under Section 1983 can be assessed only “where the

municipality itself causes the constitutional violation at issue. Respondeat superior or vicarious

liability will not attach under § 1983.” City of Canton, Ohio v. Harris, 489 U.S. 378, 385 (1989).

The Supreme Court has required a plaintiff to demonstrate that a policy or custom of the

governmental entity led to the constitutional deprivation alleged. Monell v. New York City Dept.

of Social Services, 436 U.S. 658, 694 (1978). The plaintiff must show both the existence of a

policy or custom and a causal link between that policy and the constitutional harm. See, e.g.,

City of Canton, 489 U.S. at 387-90; Oklahoma City v. Tuttle, 471 U.S. 808, 823 (1985).

Moreover, the policy or custom must be the result of acts or omissions of the municipality’s

policymakers that exhibit “deliberate indifference” to the rights of the municipality’s

inhabitants. City of Canton, 489 U.S. at 387-90; Gaudreault, 923 F.2d at 209.

       The County has policies pertaining to the use of control and to the provision of medical

services to inmates and detainees. It is the policy of York County to confine the use of control

measures at the Jail to situations in which the use of physical force is necessary to: protect an

officer from assault or threat of assault; protect another person from assault or threat of assault;



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protect an inmate from harm; or to prevent the destruction of property. (Vitiello Aff. Exh. 1).

Moreover, Jail officers are instructed to limit the degree of control to what the officer perceives

as reasonable and necessary under the circumstances. Id. Further, it is the policy of York County

to afford inmates and detainees at the Jail reasonable access to non-emergencyMarch 26, 2020

medical services. (Vitiello Aff. Exh. 2, at YC000061). With regard to the actual provision of

medical services, it is the policy of York County for employees working at the Jail to defer to the

medical provider – which was, in May of 2015, CCS – with regard to decisions pertaining to

health care diagnosis and treatment of inmates.

       Mr. Daggett has not identified any custom or policy of York County that would contradict

these established policies. Moreover, he has not identified how any York County custom or

policy was the moving force behind the alleged violations of his constitutional rights. In his

deposition testimony, Mr. Daggett disclaimed any knowledge of County policies or customs and

was unaware of any connection between County policies or customs and the events he alleges

violated his constitutional rights. (ECF No. 48-3, at 406-07 (Daggett Dep. III at 20/18 to 21/1)).

Similarly, Mr. Daggett’s interrogatory answers contained conclusory and speculative statements,

but no facts to suggest the existence of a County policy that was the cause of the alleged

constitutional violations. (ECF No. 48-5, at 424-25 (Pl’s Resp. to County Defs’ Interrog. ¶ 15)).

Therefore, the County is entitled to summary judgment on Count VII.

       E. The summary judgment record does not support the existence of several
          required elements of a conspiracy claim pursuant to 42 U.S.C. § 1985.

       The First Circuit has held that “[t]o state a claim under § 1985(3) a plaintiff must allege

the existence of (1) a conspiracy, (2) a conspiratorial purpose to deprive a person or class of

persons, directly or indirectly, of the equal protection of the laws or of equal privileges and

immunities under the laws, (3) an overt act in furtherance of the conspiracy, and (4) either (a)

an injury to person or property, or (b) a deprivation of a constitutionally protected right or

privilege.” Aulson v. Blanchard, 83 F.3d 1, 3 (1st Cir. 1996) (citing Griffin v. Breckenridge, 403




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U.S. 88, 102 (1971)). The Supreme Court effectively added a fifth requirement to this test when it

construed Section 1985’s references to “equal protection” and “equal privileges and immunities

under the laws” to signify that a plaintiff may recover only when the alleged conspiratorial

conduct is motivated by “some racial, or perhaps otherwise class-based, invidiously

discriminatory animus.” Griffin, 403 U.S. at 102.

        Since Mr. Daggett cannot demonstrate any of the first three elements described in

Aulson or any racial or class-based animus, his federal conspiracy claim fails as a matter of law.

In his interrogatory responses, Mr. Daggett suggested that the facts supporting his conspiracy

claim were contained in his allegations against each of the County Defendants. (ECF No. 48-5, at

424 (Pl’s Resp. to County Defs’ Interrog. ¶ 14)). However, those interrogatory responses do not

contain any facts pertaining to: the existence of a conspiracy against Mr. Daggett; a

conspiratorial purpose to deprive Mr. Daggett of the equal protection of the laws or of equal

privileges and immunities under the laws; or an overt act in furtherance of the conspiracy.4 (ECF

No. 48-5, at 420-24 (Pl’s Resp. to County Defs’ Interrog. ¶¶ 6-13)). Moreover, those

interrogatory responses do not allege that any alleged conspiratorial conduct was motivated by

racial or class-based, invidiously discriminatory animus. Id. Therefore, the County Defendants

are entitled to summary judgment on Count I.

  II. THE PLAINTIFF DOES NOT PRESENT AN ACTIONABLE CIVIL
CONSPIRACY CLAIM AND, IN ANY EVENT, THE COUNTY DEFENDANTS ARE
PROTECTED BY IMMUNITY.

        The only tort claim Mr. Daggett has asserted against the County Defendants is a claim of

civil conspiracy in Count IX. For the reasons discussed below, the County Defendants are

entitled to summary judgment with regard to that claim.




4As argued above, there is also no evidence of a deprivation of a constitutionally protected right or
privilege, which is also a required element of a conspiracy under Section 1985.



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       A. The Plaintiff has neither alleged nor demonstrated the elements
          necessary for a claim of civil conspiracy.

       The Maine Law Court has consistently held that civil conspiracy is not an independent

cause of action. “[A]bsent the actual commission of some independently recognized tort, a claim

for civil liability for conspiracy fails.” Potter, Prescott, Jamieson & Nelson, P.A. v. Campbell,

1998 ME 70, ¶ 8, 708 A.2d 283 (citing Cohen v. Bowdoin, 288 A.2d 106 (Me. 1972)). See also

Forbis v. City of Portland, 270 F. Supp.2d 57, 61 (D. Me. 2003) (construing Maine law and

noting that “[i]n Maine, there is no separate cause of action for civil conspiracy; it is only a way

of obtaining vicarious liability against someone who did not himself perform the tortious act”).

Mr. Daggett has not even alleged – let alone demonstrated – that the County Defendants

committed an independent tort recognized under Maine law. Therefore, the County Defendants

are entitled to summary judgment on County IX.

       B. The Plaintiff’s civil conspiracy claim is barred by the Maine Tort Claims
          Act’s statute of limitations.

       The Maine Tort Claims Act, 14 M.R.S. §§ 8101-8118 (“the Act”) provides a general grant

of tort immunity to governmental entities: “all governmental entities shall be immune from suit

on any and all tort claims seeking recovery of damages.” § 8103(1). By definition, governmental

entities include counties. § 8102(2 & 3) (“governmental entity” defined to include “political

subdivisions” of the State, including counties). Any claims alleging torts against governmental

entities or their employees must be brought within two years of accrual. 14 M.R.S. § 8110. “A tort

claim accrues when ‘the plaintiff sustains harm to a protected interest.’” McLaughlin v.

Superintending Sch. Comm., 2003 ME 114, ¶ 22, 832 A.2d 782 (quoting Johnston v. Dow &

Coulombe Inc., 686 A.2d 1064, 1066 (Me. 1996) (internal quotation marks omitted)).

       Mr. Daggett’s civil conspiracy claim is time-barred. Mr. Daggett alleges that he was

harmed by a civil conspiracy that occurred on May 17-18, 2015. Therefore, pursuant to Section

8110, he was required to file his claim no later than May 18, 2017. Since his Complaint in this




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matter was not filed until August 8, 2018, Mr. Daggett’s civil conspiracy claim is barred by the

applicable statute of limitations.

          C. Sheriff King and Superintendent Vitiello are protected by discretionary
             function immunity.

          Even if civil conspiracy was a viable separate cause of action, Mr. Vitiello and Sheriff

King would be protected from liability by discretionary function immunity under the Act. 14

M.R.S. § 8111. The Act confers upon governmental employees absolute discretionary function

immunity. § 8111(1)(C); Carroll v. City of Portland, 1999 ME 131, ¶ 6, 736 A.2d 279

(emphasizing that that discretionary function immunity is absolute). Moreover, “discretionary

immunity…applies unless the defendants’ conduct ‘clearly exceeded, as a matter of law, the

scope of any discretion [they] could have possessed in [their] official capacity as [police

officers].’” Polley v. Atwell, 581 A.2d 410, 414 (Me. 1990) (emphasis in original). The Maine Law

Court has held that “[t]he management and care of prisoners is a discretionary function.”

Erskine v. Comm’r of Corr., 682 A.2d 681, 686 (Me. 1996) (citing Ellis v. Meade, 887 F. Supp.

324, 331 (D. Me. 1995)). In fact, the Law Court has emphasized that “[s]uch ‘is at the core of the

discretionary function immunity.’” Id. (quoting Darling v. Augusta Mental Health Inst., 535

A.2d 421, 426 (Me. 1987)). Similarly, the Law Court has held that “[t]he supervision of

governmental employees conducting discretionary functions is a discretionary act.” Chiu v. City

of Portland, 2002 ME 8, ¶ 25, 788 A.2d 183 (citing Miller v. Szelenyi, 546 A.2d 1013, 1021 (Me.

1988)).

          Based on Erskine and Chiu, there can be no doubt that discretionary function immunity

pertains to Mr. Daggett’s tort claim against the individual County Defendants. Moreover, there

is no evidence of either individual County Defendant clearly exceeding his authority as a law

enforcement officer with regard to Mr. Daggett’s brief incarceration at the Jail. Therefore,

Sheriff King and Superintendent Vitiello are absolutely immune from liability for Mr. Daggett’s

civil conspiracy claim.




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       D. The County is protected from liability by absolute immunity.

       Absent an express exception, York County is absolutely immune from liability for tort

claims. § 8103(1); Lightfoot v. Sch. Admin. Dist. No. 35, 2003 ME 24, ¶ 7, 816 A.2d 63. There is

no statutory exception to immunity that applies to Mr. Daggett’s claims. Cf. 14 M.R.S. § 8104-A;

see also Lightfoot, 2003 ME 24, ¶ 7 (noting that the “public buildings” exception to immunity

does not apply to a governmental entity’s care or supervision of people in its charge) (quoting

ABT & A Co. v. State, 644 A.2d 460, 460 (Me. 1994)). Even if an exception did apply, the County

would nonetheless be protected by discretionary function immunity. See 14 M.R.S. § 8104-B(3);

see also Erskine, 682 A.2d at 686; Chiu, 2002 ME 8, ¶ 25.

       Finally, the County has not waived its immunity protection through the purchase of

insurance. The Act provides that a governmental entity can waive its immunity by procuring

insurance that “provides coverage in areas where the governmental entity is immune….” 14 M.R.S. §

8116. However, during the period implicated by Mr. Daggett’s allegations, the only liability

insurance procured by the County that covered the Jail was obtained through the Maine County

Commissioners’ Association Self-Funded Risk Management Pool (“Risk Pool”). The coverage

through the Risk Pool provided explicitly that it was limited to “those areas for which

governmental immunity has been expressly waived.” The Law Court has held that such limiting

language precludes a waiver of immunity under Section 8116. See Doucette v. City of Lewiston,

1997 ME 157, ¶ 8, 697 A.2d 1292 (holding that MMA policy that limited coverage “to those areas

for which governmental immunity has been expressly waived” did not waive immunity under

Section 8116). Since the Plaintiffs’ claims do not implicate an area in which immunity has been

expressly waived, the Risk Pool coverage does not apply. Therefore, the County has not waived

its immunity under the Act by purchasing insurance and it is entitled to summary judgment on

Mr. Daggett’s tort claim.




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  III.   THE PLAINTIFF HAS NOT ALLEGED CLAIMS AGAINST THE
COUNTY DEFENDANTS THAT COULD RESULT IN AN AWARD OF PUNITIVE
DAMAGES.

       Mr. Daggett seeks punitive damages with regard to his federal civil rights claims and his

state law claim of civil conspiracy. However, punitive damages are not recoverable against the

County under state tort law or under Section 1983. See 14 M.R.S. § 8105(5); City of Newport v.

Fact Concerts, Inc., 453 U.S. 247, 271 (1981). Therefore, the Court should enter summary

judgment in favor of York County with regard to punitive damages.

       Sheriff King and Superintendent Vitiello are also entitled to summary judgment with

regard to Mr. Daggett’s request for punitive damages. Punitive damages against an individual in

a Section 1983 action are available only “when the defendant’s conduct is shown to be motivated

by evil motive or intent, or when it involves reckless or callous indifference to federally protected

rights of others.” Smith v. Wade, 461 U.S. 30, 56 (1983). Similarly, punitive damages under

Maine law may be awarded only if the plaintiff can show either ill will or outrageous conduct.

See Tuttle v. Raymond, 494 A.2d 1353 (1985). Mere negligence or reckless disregard of the

circumstances are not enough to justify punitive damages. Id. at 1362-63. As discussed at length

above, the summary judgment record demonstrates that neither Sheriff King nor

Superintendent Vitiello was motivated by evil motive or intent, nor did they act with reckless or

callous indifference to Mr. Daggett’s federally-protected rights. Therefore, Mr. Daggett cannot

present a triable issue of punitive damages against them.




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                                       CONCLUSION

       For the reasons discussed above, the County Defendants request that the Court enter

summary judgment in their favor with regard to all claims against them in the Amended

Complaint.

       Dated at Portland, Maine this 22nd day of April, 2020.

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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 22, 2020, I electronically filed County Defendants’
Motion for Summary Judgment, with Incorporated Memorandum of Law using the
CM/ECF system, which will provide notice to me and the following other counsel of record:
schurchill@nicholschurchill.com; rhatch@thompsonbowie.com;
bwahrer@thompsonbowie.com; ebenjamin@dwmlaw.com; kpark@dwmlaw.com.

       Dated at Portland, Maine this 22nd day of April, 2020.

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